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EXHIBIT I

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar,
Plaintiff,

v.
State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants.

Case No. 3:24-cv-00103-ART-CLB

EXHIBIT I — Criminal Complaint (Bates Nos. EX022-EX024)

Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P.

56)

Plaintiff Drew J, Ribar, pro se, submits Exhibit I, the Criminal Complaint filed by the Carson
City District Attorney’s Office on August 31, 2022, in Carson City Justice Court (Case No. 22
CR 01231 1C), obtained via discovery in the dismissed criminal case. Filed manually per LR IC
2-2 with a Notice of Manual Filing, this exhibit stands alone as evidence of Defendants’
prosecutorial actions following Plaintiff's arrest on August 30, 2022, while cross-referencing

Exhibits C, D, E, F, and H to support Plaintiff's claims and Rule 56 motion.

Key Evidence and Legal Violations

PLEADING TITLE - 1

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| Section Incident Legal Relevance Cross-Reference
2
Violates First Amendment recording
3
4 rights (Fordyce v. Seattle, 55 F.3d 436
5 (9th Cir. 1995); Nieves v. Bartlett, 139
Alleges Plaintiff Exhibit C,
6 || Count I: S. Ct. 1715 (2019)); Fourth
7 remained on NDOC 01:01:40.583
Trespass Amendment malicious prosecution
8 property, filming (public road),
(Bates (Thompson v. Clark, 142 8. Ct. 1332
9 security measures, 01:05:13.333 (no
0 EX022- (2022)); NRS 207.200 requires notice,
after orders to leave signs); Exhibit F,
11 {| EX024) absent in video evidence; supports
(NRS 207.200). EX001—EX002
12 retaliation pretext (Board of County
'3 Comm'rs v. Umbehr, 518 U.S. 668
14
(1996)).
15
16 Supports First Amendment retaliation
17 Alleges Plaintiff (Glik v. Cunniffe, 655 F.3d 78 (1st
18 obstructed NDOC Cir. 2011); Irizarry v. Yehia, 38 F.Ath
19
officials by refusing 1282 (10th Cir. 2022)); Fourth Exhibit D, 0:20:56
20 |; Count IT:
to stop filming, Amendment lack of probable cause —_ (no obstruction);
21 |! Resist Public
22 causing lockdown (Devenpeck v. Alford, 543 U.S. 146 — Exhibit F, EX001—
Officer
23 (NRS 199.280, shifted (2004)); NRS 199.280 requires lawful EX002
24 from NRS 197.190 in order, unproven; prosecutorial shift
25
Exhibit F). from NRS 197.190 suggests pretext
26
T. .
37 (Thompson)
28
PLEADING TITLE - 2

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Section Incident Legal Relevance Cross-Reference

Supports Fourth Amendment
malicious prosecution via

Omits NRS 203.010 inconsistent charges (Thompson);
Exhibit H, EX016—
Complaint from Exhibit F, filed Fourteenth Amendment due process
EX017 (two
Filing (Bates within 24 hours by _ violation (Mathews v. Eldridge, 424
charges); Exhibit
EX022- DA Tyson Darin U.S. 319 (1976); Parratt v. Taylor,
E, 0:01:04-0:01:20
EX024) League, ratifying 451 U.S. 527 (1981)); rapid filing and
(retaliation threats)
arrest claims. ratification suggest retaliatory policy

(Monell v. Dep't of Soc. Servs., 436

U.S. 658 (1978)).

Fifth Amendment violation (Miranda
Late Miranda warning
Post-Arrest v. Arizona, 384 U.S. 436 (1966)), Exhibit D, 0:20:56;
ignored in prosecution
Context unaddressed by DA, supporting due Exhibit F, EX017
filing.
process claim (Mathews).

Legal Claims Supported

¢ First Amendment (42 U.S.C. § 1983): Prosecution for lawful recording (Fordyce, Glik,
Irizarry, Nieves, Umbehr; NRS 171.1233), contradicted by Exhibits C and D.
¢ Fourth Amendment (42 U.S.C. § 1983): Malicious prosecution via inconsistent charges

and weak probable cause (Thompson, Devenpeck), tied to Exhibit F (EX001-—EX002) and

tow (EX014-EX015, Soldal v. Cook County, 506 U.S. 56 (1992)).
PLEADING TITLE - 3

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¢ Fifth Amendment (42 U.S.C. § 1983): Late Miranda warning (Miranda), unaddressed in
prosecution, per Exhibit D (0:20:56).

e Fourteenth Amendment (42 U.S.C. § 1983): Procedural due process flaws in charging
and prosecution (Mathews, Parratt), substantive economic harm to Plaintiff's towing
business linked to Exhibit E (Meyer v. Nebraska, 262 U.S. 390 (1923); County of
Sacramento v. Lewis, 523 U.S. 833 (1998)).

e Municipal Liability (42 U.S.C. § 1983): CCSO/DA custom of retaliation via arrest, tow,
and prosecutorial ratification (“we want it gone,” Exhibit C, 01:01:33.500; “my bosses,”
Exhibit E, 0:01:20; Monell).

¢ State Law Claims: False imprisonment (NRS 200.460), oppression under color of law
(NRS 197.200), intentional interference with prospective economic advantage (28 U.S.C.

§ 1367).

Summary Judgment Purpose (Fed. R. Civ. P. 56)

Exhibit I’s charges (Bates EX019~EX021) criminalize filming, contradicted by video evidence
(Exhibits C, D) showing no pre-arrest warning or lawful basis, and reinforced by retaliatory
threats (Exhibit E). The inconsistent charges (NRS 203.010 omitted vs. Exhibit F; NRS 197.190
shifted to NRS 199.280) and rapid DA ratification suggest pretext, violating clearly established
law. These undisputed facts leave no genuine dispute of material fact—no reasonable jury

could find this prosecution justified—entitling Plaintiff to judgment as a matter of law.

PLEADING TITLE - 4

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Qualified Immunity Defeat

Defendants’ actions contravene clearly established rights under Pearson v. Callahan, 5 55 US.

223 (2009):

¢ Violation: Recording retaliation (Fordyce, Glik, Irizarry, Nieves, Umbehr), malicious
prosecution (Thompson), due process (Mathews, Parratt), late Miranda (Miranda).

¢ Clearly Established: Rights defined pre-2022 (Fi ordyce 1995, Thompson 2022).

Prosecution shows objective unreasonableness (Kingsley v. Hendrickson, 576 U.S. 389 (2015)),
not mere negligence. “Security risk” defenses fail against Soldal’s warrant requirement,
Mathews’s notice mandate, and Nieves’s retaliation bar (Harlow vy. Fitzgerald, 457 U.S. 800

(1982)).

Authentication

Per Fed. R. Evid. 901, I, Drew J. Ribar, declare under penalty of perjury this Criminal Complaint
(Bates EX019-EX021) was obtained via discovery in Case No. 22 CR 01231 1C and accurately

reflects Defendants’ prosecutorial actions on August 31, 2022.

Dated: March 27, 2025
/s/ Drew J. Ribar
Drew J. Ribar

3480 Pershing Ln, Washoe Valley, NV 89704

PLEADING TITLE - 5

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1 || Tel: (775) 223-7899

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DISTRICT ATTORNEY “yo UO
TYSON DARIN LEAGUE ChE Rs

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3 Supervising Deputy District Attorney

4 || Nevada Bar No.: 13366 .
tleague@carson.org mt
5 || 885 East Musser Street, Suite 2030 “oe S$
Carson City, NV 89701

6 || Telephone (775) 887-2072
Facsimile (775) 887-2129

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Representing State of Nevada _
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IN THE CARSON CITY JUSTICE COURT ' oR oe
10 IN AND FOR CARSON CITY, STATE OF NEVADA
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$353  12/| STATE OF NEVADA,
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ggck
He 13 Plaintiff CaseNo. 22CR012311C
cas 14
. § ji V. Dept. No. |
2? 1¢|| OREW4 RIBAR,
é 17 Defendant.
18 CRIMINAL COMPLAINT
19 Tyson Darin League, Supervising Deputy District Attorney for Carson City,

20 || Nevada, complains and declares, upon information, belief and/or personal knowledge,
21|/ that DREW J RIBAR, the Defendant, above-named, at Carson Township, in Carson
22 || City, State of Nevada, has committed the crime(s) of. TRESPASS, NOT AMOUNTING
234} TO BURGLARY, a violation of NRS 207.200, a Misdemeanor and RESIST PUBLIC
24 || OFFICER, a violation of NRS 199.280(3), a Misdemeanor, in the manner following:
25 |i Ui

EX DAP

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Carson City, Neveda
tute 2030. Carson City, NV 89701
75) 887-2129

885 East Musser Street S

Office of the District Attom

Tat: (775) 887-2072 Fax (7

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Count |
TRESPASS, NOT AMOUNTING TO BURGLARY
(MISDEMEANOR - NRS 207.200)

That the Defendant, Drew J Ribar, on or about August 30, 2022, at Carson
Township, in Carson City, State of Nevada, did willfully remain on property after being
told to leave by the lawful owner or occupant of such property or their designated
representative, to wit: the Defendant refused to leave Nevada State Department of
Corrections grounds after being told to leave by a Sergeant, a Lieutenant and the
Warden himself, instead remaining on the property and filming security measures, all
of which occurred at or near Northem Nevada Correctional Center, in Carson City,
State of Nevada.

Count Il
RESIST PUBLIC OFFICER
(MISDEMEANOR - NRS 199.280(3))

That the Defendant, Drew J Ribar, on or about August 30, 2022, at Carson
Township, in Carson City, State of Nevada, did willfully and unlawfully resist, delay, or
obstruct a public officer in discharging or attempting to discharge any legai duty of his
or her office, to-wit: the Defendant refused to discontinue filming security measures at
the Northern Nevada Correctional Center, and/or refused to leave the premises which
resulted in a full facility lockdown hindering or obstructing the Corrections Officials
duties to maintain the security of the facility and/or their duty to secure inmates in the
facility, all of which occurred at or near 1721 Snyder Avenue, Carson City, State of
Nevada.

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Musser Strest, Suite 2030, Car

Tel: (775) 887-2072 Fax (775) 887-2129

Office of the District A
Carson C

885 East

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All of which is contrary to the form of the Statutes in such cases made and
provided and against the peace and dignity of the State of Nevada. Said Complainant
declares under penalty of perjury under the law of the State of Nevada that the
foregoing is true and correct and prays that the Defendant may be dealt with according
to law.

DATED this 31st day of August, 2022. a

t.

SGN-DARIN LEAGUE
Supervising Deputy District Attorney
Nevada Bar No. 13366

